Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 1 of 39

Exhibit A
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 2 of 39

 

FIC Facts

 

July 2007

focuson G
CREDIT KC

FOR THE CONSUMER

www.ftc.gov M 1-877-ftc-heip

Need Credit or Insurance?
Your Credit Score Helps Determine What You'll Pay

BK“ wonder how a lender decides whether to
grant you credit? For years, creditors have

been using credit scoring systems to determine if
youd be a good risk for credit cards, auto loans,

and mortgages. These days, many more types of
businesses — including insurance companies and
phone companies — are using credit scores to decide

whether to approve you fora

Information about you and your credit experi-
ences, like your bill-paying history, the number
and type of accounts you have, whether you pay
your bills by the date they're due, collection actions,
outstanding debt, and the age of your accounts, is
collected from your credit report. Using a statisti-
cal program, creditors compare this information to

the loan repayment history

 

loan or service and on what
terms. Auco and homeown-
ers insurance companies
are among the businesses

that are using credit scores

The FTC wants you to know
how credit scoring works.

of consumers with similar
profiles. For example, a
credit scoring system awards
points for cach factor that
helps predict who is most

 

to help decide if you'd be a

good risk for insurance. A higher credit score means
you are likely less of a risk, and in turn, means you
will be more likely to get credit or insurance — or

pay less for it.

The Federal Trade Commission (FTC), the
nation’s consumer protection agency, wants you to

know how credit scoring works.

WHAT IS CREDIT SCORING?

Credit scoring is a system creditors use to help deter-
mine whether to give you credit. It also may be used
to help decide the terms you are offered or the rate

you will pay for the loan.

likely to repay a debt. A
total number of points — a credit score — helps
predict how creditworthy you are — how likely it is
that you will repay a loan and make the payments

when they're due.

Some insurance companies also use credit re-
port information, along with other factors, to help
predict your likelihood of filing an insurance claim
and the amount of the claim. They may consider
these factors when they decide whether to grant
you insurance and the amount of the premium they
charge. The credit scores insurance companies use
sometimes are called “insurance scores” or “credit-

based Insurance scores.”
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 3 of 39

FTC Facts For Consumers 2

 

CREDIT SCORES AND CREDIT
REPORTS

Your credit report is a key part of many credit scor-
ing systems. That's why it is critical to make sure
your credit report is accurate. Federal law gives you
the right co get a free copy of your credit reports
from each of the three national consumer reporting

companies once every 12 months.

assigned a weight based on how strong a predictor it
is of who would be a good risk. Each company may
use its own scoring model, different scoring models
for different types of credit or insurance, or a generic
model developed by a scoring company.

Under the Equal Credit Opportunity Act
(ECOA), a creditor's scoring system may not use
certain characteristics — for

 

The Fair Credit Report-
ing Act (FCRA) also gives
you the right to get your
credit score from the na-
tional consumer reporting

companies. They are allowed

Your credit report is
a key part of many
credit scoring systems.

example, race, sex, marital sta-
tus, nacional origin, or religion
— as factors. The law allows
creditors to use age in properly
designed scoring systems. But
any credit scoring system that
includes age must give equal

 

to charge a reasonable fee,
generally around $8, for
the score. When you buy your score, often you get

information on how you can improve it.

To order your free annual report from one
or all the national consumer reporting com-
panies, and to purchase your credit score, visit
www.annualcreditreport.com, call toll-free 1-877-
322-8228, or complete the Annual Credit Report
Request Form and mail it to: Annual Credit Report
Request Service, P.O. Box 105281, Adlanta, GA
30348-5281. The form is at the back of this bro-
chure; or you can print it from www.ftc.gov/credit.
For more information, see Your Access to Free Credit

Reports at www.ftc.gow/credit.

HOw IS A CREDIT SCORING
SYSTEM DEVELOPED?

To develop a credit scoring system or model, a cred-
itor or insurance company selects a random sample
of its customers, or a sample of similar customers,

and analyzes it statistically to identify characteristics

that relate to risk. Each of the characteristics then is

treatment to elderly applicants.

WHAT CAN I DO TO IMPROVE
MY SCORE?

Credit scoring systems are complex and vary among
creditors or insurance companies and for different
types of credit or insurance. If one factor changes,
your score may change — but improvement gener-
ally depends on how that factor relates to others the
system considers. Only the business using the scor-
ing knows what might improve your score under the
particular model they use to evaluate your applica-

tion.

Nevertheless, scoring models usually consider the
following types of information in your credit report

to help compute your credit score:

@ Have you paid your bills on time? You can count
on payment history to be a significant factor. If
your credit report indicates chat you have paid
bills lace, had an account referred to collections,
or declared bankruptcy, it is likely to affect your

score negatively,
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 4 of 39

FTC Facts For Consumers 3

 

@ Are you maxed out? Many scoring systems evalu-
ate the amount of debt you have compared to
your credit limits. If the amount you owe is close
to your credit limit, it’s likely to have a negative
effect on your score.

@ How long have you had credit? Generally, scor-
ing systems consider the length of your credit
track record. An insufficient credit history may
affect your score negatively, but factors like
timely payments and low balances can offset
that.

@ Have you applied for new credit lately? Many
scoring systems consider whether you have ap-
plied for credit recently by looking at “inquiries”
on your credit report. If you have applied for
too many new accounts recently, it could have
a negative effect on your score. Every inquiry

isn't counted: for example,

system may consider the amount of your down pay-
ment, your total debt, and your income, among other
things.

Improving your score significantly is likely to take
some time, but it can be done. To improve your credit
score under most systems, focus on paying your bills
in a timely way, paying down any outstanding bal-
ances, and staying away from new debt.

ARE CREDIT SCORING SYSTEMS
RELIABLE?

Credit scoring systems enable creditors or insurance
companies to evaluate millions of applicants consis-
tently on many different characteristics. To be sta-
tistically valid, these systems must be based on a big
enough sample. They generally vary among businesses
that use them.

 

inquiries by creditors who are
monitoring your account or
looking at credit reports to
make “prescreened” credit of-
fers are not considered liabili-

ties.

@ How many credit accounts

Scoring models may be
based on more than the
information in your

credit report.

Properly designed, credit
scoring systems generally
enable faster, more accurate,
and more impartial decisions
than individual people can
make. And some creditors
design their systems so that
some applicants — those

 

do you have and what kinds

of accounts are they? Although it is generally
considered a plus to have established credit
accounts, too many credit card accounts may
have a negative effect on your score. In addition,
many scoring systems consider the type of credit
accounts you have. For example, under some
scoring models, loans from finance companies

may have a negative effect on your credit score.

Scoring models may be based on more than
the information in your credit report. When you

are applying for a mortgage loan, for example, the

with scores not high cnough
to pass easily or low enough to fail absolutely — are
referred to a credit manager who decides whether the
company or lender will extend credit. Referrals can re-
sult in discussion and negotiation between the credit

manager and the would-be borrower.

WHAT IF I AM DENIED CREDIT
OR INSURANCE, OR DON’T GET
THE TERMS I WANT?

If you are denied credit, the ECOA requires that the
creditor give you a notice with the specific reasons
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 5 of 39

FTC Facts For Consumers 4

 

your application was rejected or the news that you
have the right to learn che reasons if you ask within
60 days. Ask the creditor to be specific: Indefinite
and vague reasons for denial are illegal. Acceptable
reasons might be “your income was low” or “you
haven't been employed long enough.” Unacceptable
reasons include “you didn’t meet our minimum stan-
dards” or “you didn’t receive enough points on our

credit scoring system.”

Sometimes you can be denied credit or insurance
~— or initially be charged a higher premium —— be-
cause of information in your credit report. In that
case, the FCRA requires the creditor or insurance
company to give you the name, address, and phone
number of the consumer reporting company that
supplied the information. Contact the company to
find out what your report said. This information is
free if you ask for it within GO days of being turned
down for credit or insurance. The consumer report-
ing company can tell you what's in your report; only
the creditor or insurance company can tell you why

your application was denied.

Ifa creditor or insurance company says you were
denied credit or insurance because you are too near
your credit limits on your credit cards, you may want
to reapply after paying down your balances. Because
credit scores are based on credit report information,
a score often changes when the information in the

credit report changes.

If you've been denied credit or insurance or didn’t

get the rate or terms you want, ask questions:

@ Ask the creditor or insurance company if a credit
scoring system was used. If it was, ask what char-
acteristics or factors were used in the system, and
how you can improve your application.

@ If you get the credit or insurance, ask the creditor
or insurance company whether you are getting the
best rate and terms available. If you're not, ask why.

@ [f you are denied credit or not offered the best rate
available because of inaccuracies in your credit re-
port, be sure to dispute the inaccurate information
with the consumer reporting company. To learn
more about this right, see How to Dispute Credit
Report Errors at www.ftc.gov/credit.

The FTC works for the consumer to prevent
fraudulent, deceptive and unfair business practices in
the marketplace and to provide information to help
consumers spot, stop, and avoid them. To file a com-
plaint or to get free information on consumer issues,
visit www.ftc.gov or call coll-free, 1-877-FTC-HELP
(1-877-382-4357); TTY: 1-866-653-4261. The FTC
enters Internet, telemarketing, identity theft, and other
fraud-related complaints into Consumer Sentinel , a
secure online database available to hundreds of civil

and criminal law enforcement agencies in the ULS.

and abroad.
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 6 of 39

Exhibit B
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 7 of 39

DISCUSSION PAPER

 

PAYMENT CARDS CENTER

 

An Overview and History of Credit Reporting’
Mark Furletti

June 2002

Summary: On April 5, 2002, the Payment Cards Center of the Federal Reserve Bank of Philadelphia
held a workshop that explored the uses and evolution of credit reporting companies. Leading the
workshop was a group of executives from TransUnion LLC — Tony Capaldi, Group Vice President for
the Eastern Region; Dan Brackle, Vice President, Philadelphia; and Chet Wiermanski, Vice President,
Analytical Services. Headquartered in Chicago, Illinois, TransUnion is a leading global provider of
information and decision-processing services, maintaining one of the largest databases of consumer
credit information in the world, serving businesses and consumers in the U.S. This paper includes a short
history of credit reporting, an overview of the Fair Credit Reporting Act. and a review of credit reporting
company markets and uses. Information from the TransUnion workshop is supplemented by additional
research.

*The views expressed here are not necessarily those of this Reserve Bank or of the Federal Reserve
Svstem

 

 

 

FEDERAL RESERVE BANK OF PHILADELPHIA

Ten Independence Mall, Philadelphia, PA 19106-1574 (215) 574-72 20¢ www. phil frb.org

 
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 8 of 39

Introduction

Credit reporting companies serve as sources of information about consumers’ use
of credit as reported by those from whom consumers borrow. Lenders use this
information to supplement whatever data they have already directly acquired about a
borrower's creditworthiness to make lending decisions. As part of this system, lenders
have incentives to report their own experiences with borrowers so as to gain access to
other creditors' data in the future.

The credit data essentially represent a consumer's credit "reputation," based as it
is on his or her borrowing and repayment behavior over time. In the past, this
"reputation" was usually maintained by lots of local agencies working with local lenders
with incomplete and often unverifiable information. Today, regulation and consolidation
have led to highly automated national firms that compile far more detailed and complete
information and comply with a range of policies designed to protect the interest of
consumers.

Credit reporting companies give businesses insights into a consumer's past
behavior, similar to the ways in which an insurance company might use a driving record
or a prospective employer might use a college transcript. These insights, which include a
consumer's record of meeting financial obligations, can be used to make decisions about
his or her stability and his or her ability and willingness to repay debt. Without such
information, borrowers would likely be required to provide far more information about
themselves when applying for any type of credit and pay more for access to credit. In
fact, in countries that do not have a well-developed credit reporting system, creditors can

make the mistake of lending to consumers who are already overextended or in default

 
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 9 of 39

with another creditor.’ These mistakes result in a higher cost of borrowing for all
consumers.

In his article "What's in the File?" economist Robert M. Hunt explains the
importance of credit reporting.’ He writes: "Armed with more information, lenders can
better evaluate potential borrowers and offer loan terms commensurate with their risk of
default. And if future access to credit is a valuable option to a borrower, he or she will
have an incentive to avoid a default that might become known to other creditors." So in
addition to providing creditors with the information necessary to properly measure risk,
credit reporting companies provide incentives for consumers to use credit responsibly.
For these reasons, credit reporting companies play an important role in the efficient
allocation of consumer credit.

History of Credit Reporting Companies

Tony Capaldi began the workshop by describing the credit reporting industry
during the 1950s and 1960s. For illustrative purposes, he focused on the history of
agencies in the tri-state area (Pennsylvania, Delaware, and New Jersey) and indicated that
similar events were unfolding nationally. The first “bureaus,” as they were called then, in
the tri-state area were small and community based. “They often tracked the behaviors of
consumers in a specific county or town and primarily focused on serving one kind of
creditor— bank, finance company, or retailer," Capaldi said.

These early credit reporting companies represented cooperative efforts among
creditors in a specific region and were operated solely for the benefit of its members.

They typically limited their credit-related reporting to negative or "derogatory"

 

' Kate Gibson, “Lending Abroad: The Credit Concept Spreads," Collections & Credit Risk (August 2001).
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 10 of 39

Exhibit C
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 11 of 39

+ WORKING PAPERS

RESEARCH DEPARTMENT

 

 

WORKING PAPER NO. 05-13
A CENTURY OF CONSUMER
CREDIT REPORTING IN AMERICA

Robert M. Hunt
Federal Reserve Bank of Philadelphia

June 2005

 

 

 

RESEARCH DEPARTMENT, FEDERAL RESERVE BANK OF PHILADELPHIA
Ten Independence Mall, Philadelphia, PA 19106-1574 * www.philadelphiafed.org/econ/index.html
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 12 of 39

A CENTURY OF CONSUMER
CREDIT REPORTING IN AMERICA

Robert M. Hunt
Federal Reserve Bank of Philadelphia

June 2005

Abstract

In the United States today, there is at least one credit bureau file, and probably three, for
every credit-using individual in the country. Over 2 billion items of information are

added to these files every month, and over 3 million credit reports are issued every day.
Real-time access to credit bureau information has reduced the time required to approve a
loan from a few weeks to just a few minutes. But credit bureaus have also been criticized
for furnishing erroneous information and for compromising privacy. The result has been
30 years of regulation at the state and federal levels.

This paper describes how the consumer credit reporting industry evolved from a few joint
ventures of local retailers around 1900 to a high-technology industry that plays a
supporting role in America’s trillion dollar consumer credit market. In many ways the
development of the industry reflects the intuition developed in the theoretical literature on
information-sharing arrangements. But the story is richer than the models. Credit bureaus
have changed as retail and lending markets changed, and the impressive gains in
productivity at credit bureaus are the result of their substantial investments in technology.

Credit bureaus obviously benefit when their data are more reliable, but should we expect
them to attain the socially efficient degree of accuracy? There are plausible reasons to
think not, and this is the principal economic rationale for regulating the industry. An
examination of the requirements of the Fair Credit Reporting Act reveals an attempt to
attain an appropriate economic balancing of the benefits of a voluntary information-
sharing arrangement against the cost of any resulting mistakes. Subsequent litigation and
amendments to the act reveal how this balance has evolved over time.

JEL Codes: D180 G180 L880 N220

Keywords: — Information sharing, consumer credit reporting, Fair Credit Reporting Act
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 13 of 39

Isaac, which develop scorecards for consumer loans. For the U.S., this lower bound is at least
several billion dollars (see section II). McCorkell (2002) argues that using scorecards built with
data supplied by credit bureaus results in delinquency rates 20-30 percent lower than lending
decisions based solely on judgmental evaluation of applications for credit. Conversely, holding
the expected default rate constant, using scorecards yields a comparable increase in the
acceptance rate (Chandler and Parker 1989, Chandler and Johnson 1992). Similar claims have
been made about the efficacy of scorecards for auto insurance.®

If we suppose for the moment that this technology disappeared and that lenders did not
adjust the volume of their credit card lending, a simple estimate of the resulting increase in loan
losses for the U.S. would be about $5 billion a year. Conversely, suppose that lenders responded
to the loss of this technology by trying to hold the delinquency rate constant. The resulting
decline in outstanding revolving loans would be about $120 billion.’ These obviously crude
calculations bound a region of potential gains, as banks would obviously adjust to any change in
their screening technology.
III. The Evolution of the American Consumer Credit Reporting Industry
Consumer credit bureaus emerged in the United States in the late 19" century. Other early
adopters include Austria, Sweden, Finland, South Africa, Canada, Germany, and Australia

(Jappelli and Pagano 1999). In the U.S., most of the early credit bureaus were cooperatives or

 

* See the 2003 testimony by Kevin Sullivan. For extensive materials on the use and effectiveness of scores for
insurance underwriting, see the 2003 testimony by Cheri St. John.

* This number is 20 percent of the product of the charge-off rate on banks’ credit card loans (4.38 percent) times
outstanding revolving credit ($613 billion) in the first quarter of 2000. That was the recent low for delinquencies
and charge offs on U.S. banks’ credit card loans. See Barron and Staten (2003) for a comparable exercise in
which they ask what would be the decline in the discriminatory power of a scorecard when it is constructed only
with derogatory credit information. Jappelli and Pagano (1999) use a cross national sample with macroeconomic
data to identify some preliminary evidence of the effect of credit bureaus on default rates.
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 14 of 39

nonprofit ventures set up by local merchants to pool the credit histories of their customers and to
assist in collections activities. Others were established by local finance companies or the local
chamber of commerce (Cole and Mishler 1998).

The next step for this industry was the formation of a mechanism to share consumer
credit information in different cities and regions of the country. This was accomplished through a
trade association established in 1906. For most of its existence this organization was known as
Associated Credit Bureaus, Inc., or ACB.'° ACB developed the procedures, formats, and
definitions that enabled the sharing of credit files between agencies across the country. ACB
even introduced a form of scrip, which members purchased from the association, which was used
as a currency to pay for credit reports obtained from fellow members in other cities.

Membership in ACB grew rapidly from fewer than 100 bureaus in 1916 to 800 in 1927,
and doubling again by 1955. According to ACB, its members collectively attained universal
coverage of consumer borrowers by 1960. But even in that year, the largest of the credit bureaus
maintained files on consumers in at most a handful of cities. At a time when the technology was
limited to filing cabinets, the postage meter, and the telephone, American credit bureaus issued
60 million credit reports in a single year.

A. Credit Bureaus Respond to Economic and Technological Change
Credit bureaus emerged at a time when retailers were the primary source of consumer credit; the
other important sources were pawnbrokers, small loan companies, and, of course, friends and

family. One reason that retailers were so dominant in this period was that state usury laws made

 

'° This association was originally called the National Federation of Retail Credit Agencies. Today it is called the
Consumer Data Industry Association, or CDIA, but I will refer to its historic name throughout this paper. Another
association, the National Credit Reporting Association, represents several hundred smaller bureaus, principally
resellers that specialize in credit reports for mortgage underwriting, employment screening, and tenant
verifications.

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Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 15 of 39

it difficult to earn profits on small loans lent at legal rates (Caldor 1999, Gelpi and Julien-
Labruyere 2000).

Retailers, on the other hand, were able to earn a profit because they simply charged more
for goods purchased on credit. This advantage became less important after 1916 when many
states relaxed their usury laws. Even so, in 1929 retailers financed one-third of all retail sales.
Among retailers who offered credit, credit sales accounted for a little more than half of their
sales.'!

The share of retail sales carried on open accounts—a form of revolving credit—ranged
from 20-22 percent in the business censuses conducted from 1929 to 1948. In 1935, open
account sales represented 21 percent of sales at food stores, 19 percent at clothing stores, 26
percent at department stores, 24 percent at furniture stores, 22 percent at gas stations, and 52
percent at fuel and ice dealers. But the share of sales accounted for by installment contracts
financed by retailers declined from 13 percent in 1929 to less than 6 percent in 1948, as finance
companies and banks took up more of that business.

Over the course of the last century, credit bureaus benefited from the increasing
importance of consumer credit in the economy, but they also had to adapt to changes in the
market for consumer credit. In the half-century beginning in 1919, consumer credit grew four
times more rapidly than did total consumer spending. But consumer credit held by retailers grew
only as rapidly as consumer spending. As a result, the share of consumer credit held by retailers

fell by half (from 80 percent to 40 percent) between 1919 and 1941. By 1965, it had fallen by

 

'' These numbers exclude credit arranged through separate finance companies. For details on the historical statistics
cited in this section, see the Data Appendix.
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 16 of 39

nearly half again (Figures | and 2).'? By 2000, nonfinancial businesses held only 5 percent of
outstanding consumer credit. Thus the rapid growth in consumer debt over this period did not
wind up on the books of retailers, but rather on the balance sheets of financial institutions—
primarily banks and finance companies.

Another significant change in this period was that retail and consumer credit markets got
bigger. At the turn of the century, for all but a handful of retailers and catalogue sellers, the
market was limited to a single city or just part of a city. But this gradually changed. For example,
regional or national department store chains accounted for less than 15 percent of department
store sales in 1929. By 1972, they accounted for nearly 80 percent of sales. If we examine retail
sales as a whole, which includes the sales of tens of thousands of independent restaurants and
gasoline stations, the share of sales by regional or national chains rose from 13 percent in 1929 to
31 percent in 1972 (Figure 3). Over time, larger chains removed their credit operations from
individual stores and consolidated them at the headquarters. Membership and information
sharing at the local credit bureau became less important, while cooperation with the larger and
more comprehensive credit bureaus became more important.

For a long time, banks’ geographic expansion was constrained by restrictive branching
laws. For consumer credit, however, branching restrictions became less important once bank-
issued credit cards were introduced in the late 1950s and widely adopted in the late 1960s
(Nocera 1994, Evans and Schmalensee 1999). Eventually, among the banks with the largest

number of credit card accounts, the vast majority of these customers were not served through

their traditional branch operations.

 

'? To span the century, two sets of data are required. See the Data Appendix for details.
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 17 of 39

Once credit cards offered by banks were widely adopted, many retailers opted to accept
these cards while dropping their in-house credit programs. Many retailers, especially smaller
ones, had offered credit plans simply to compete with other retailers. Merchants paid a price for
accepting the bankcards—the merchant discount (6 percent of the purchase price at that time)—
but they avoided other expenses, such as bookkeeping and collections activity, to say nothing of
the cost of financing these receivables themselves. Larger retailers have maintained their store
cards—even today there are more store card accounts than bankcard accounts and the largest
issuers include retailers such as Sears. In other instances, retailers have sub-contracted their store
card operations to financial firms and no longer carry the receivables on their own balance
sheets.

These changes occurred rapidly after the late 1960s. In 1968, the amount of revolving
credit held by retailers was nearly six times higher than bankcard balances and outstanding check
credit. Ten years later (1978), banks and retailers held roughly equal amounts of revolving credit
(Figure 4). Another 15 years later (1993), revolving credit held at banks was more than three
times higher than balances held by retailers."

The rapid development of the credit card industry presented both opportunities and
challenges to credit bureaus in the early 1970s. On the one hand, card-issuing banks were a
source of new business to credit bureaus. “Pre-screening services”—the process in which a card
issuer would specify a set of characteristics of potential borrowers used to generate a mailing list
of people to extend firm offers of credit—became a significant source of revenue to the industry.

On the other hand, lenders were interested in offering credit cards on a regional or national scale,

 

" If we include securitized revolving credit--mostly issued by banks at the time, but not carried on their balance
sheets—the ratio would be 5:1 rather than 3:1.
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 18 of 39

which required access to credit files that no single bureau held in the late 1960s. In addition,
banks were rapidly automating their systems and soon expected to share and obtain data with
credit bureaus through electronic rather than paper means. To meet these changes, credit bureaus
had to automate and they had to get larger.

And that is exactly what happened. The largest credit bureaus already enjoyed coverage
of one or more large cities, and they soon began to expand their scope by acquiring credit
bureaus in other cities. ACB membership declined from a peak of around 2,200 in 1965 to only
about 500 today. After rising for decades, the number of credit bureau offices also began to
decline, falling 20 percent between 1972 and 1997 and by another 30 percent between 1997 and
2002.

Credit bureaus in the largest cities were automated first, beginning with Los Angeles in
1965, followed by New York and San Francisco in 1967.'* Shortly thereafter, the largest
bureaus established networks to access files in any of their automated bureaus across the country.
As member banks and retailers built up national credit franchises, their data made it possible for
the largest bureaus to progress toward the goal of in-house universal coverage of borrowers. The
three largest credit bureaus (today they are called TransUnion, Experian, and Equifax) attained
universal coverage in the 1980s.

Most credit bureaus were simply too small to afford the high fixed cost of automating
with the technology then available. In 1975, two-thirds of ACB member bureaus were located in
towns with populations of 20,000 or less. As recently as 1989, more than a third of ACB member
bureaus had not yet automated and relied upon an ACB service to obtain access to information

provided by regional and national creditors. Nearly 500 independent credit bureaus had
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 19 of 39

automated, but they relied on contracts with one or more of the top three bureaus to obtain
information provided by larger creditors.

B. The Consumer Credit Reporting Industry Today
In 1997, there were just under 1,000 active consumer credit reporting agencies in the U.S.,
employing about 22,000 people and generating $2.8 billion in sales (in 2002 sales were $3.5
billion).'* Virtually all of these revenues are derived from charges for access to consumer credit
reports. Controlling for inflation, industry revenues have quintupled since 1972—that is twice
the increase in the overall economy and two-thirds faster than the rate of increase in outstanding
consumer credit. The number of credit reports issued today is 10 times higher than 30 years ago,
yet industry employment is essentially unchanged. Few industries can boast such impressive
gains in labor productivity.

The industry is segmented into small and big firms. A typical credit bureau has just one
office and employs 10 people. Nine-tenths of all firms have annual sales of less than $2.5
million. In 1997, only 14 companies had more than five offices. Yet these firms accounted for
more than a fifth of all offices, half of industry employment, and two-thirds of industry receipts.
The four largest firms alone account for over half of industry receipts. These larger firms
concentrate on high-volume businesses—those firms seeking credit file information thousands or
even millions of times a year. They also conduct most of the pre-screening services that result in
the billions of solicitations for credit cards or insurance delivered by mail each year. Smaller
firms, on the other hand, concentrate on low-volume and one-time customers. For these

customers, the automated technology of the large bureaus has been too costly to justify for such a

 

'* In 1969 only four ACB member bureaus were automated. Six years later, 80 member bureaus had automated.

'° These statistics are from the Census of Service Industries. See the Data Appendix for details.
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 20 of 39

low volume. But with cheap powerful PCs and Internet-based delivery, such costs are falling,
and this may put additional pressure on the smaller independent bureaus.

There are also a number of smaller, less well-known credit bureaus that serve particular
niche markets. Many personal finance companies participate in associations (called lenders’
exchanges) that maintain records of credit extended to an individual from members in the
association. There is a medical credit bureau that primarily serves doctors and dentists. Another
bureau (the Medical Information Bureau) pools certain health information about applicants for
life insurance. There are a number of highly automated credit bureaus that serve retailers that
accept personal checks and banks that seek information on customers opening checking accounts
(Telecredit, SCAN, and Chexsystems). There are a variety of bureaus that serve landlords
evaluating prospective tenants (Landlord Connections, for example), and there is even a bureau
that serves telephone companies (the National Consumer Telecommunications Exchange).

Outside the U.S., consumer credit bureaus are on the rise. A recent World Bank survey
found at least 25 new private bureaus were created in Europe, Asia, and Latin America during

the 1990s (Miller 2003). Quite a few public credit registries were also created, especially in Latin
America. The big American bureaus have begun to expand abroad. Experian, now owned by a
British firm, has concentrated on Europe, while Equifax has acquired a number of bureaus in
Latin America.
IV. The Accuracy of Credit Bureau Information
The American consumer credit reporting industry has a poor reputation in the eyes of many
consumers. To some degree, credit bureaus are victims of their own success. Few people stop to
think about the role a credit bureau played in their successfully obtaining credit, insurance, or
even employment. But when they are denied such things on the basis of information contained in
a credit report, the credit bureau often gets the blame.

17
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 21 of 39

Exhibit D
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 22 of 39

Synovate Tel 703 790 9099
1650 Tysons Bled Fax 703 790 9181
Suite 110 www. synovate.com
et. McLean VA
@ 22102 ,

synovate

Research reinvented

Federal Trade Commission —
Identity Theft Survey Report

Prepared for Federal Trade Commission

Prepared by Synovate

September, 2003

 
Identity Theft Survey Report

100%

80%

60%

40%

20%

0% |

Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 23 of 39

 

Federal Trade Commission

Q1 / Q3a / Q4 - Incidence of Identity Theft, Past 5 Years

 

 

 

 

 

 

12.7%

4.7% 6.0%
2.0% ENE

 

 

 

 

 

T

New accounts & other Other existing accounts Existing credit card only Total victimization

frauds

4.7% of American adults surveyed said that within the last 5 years they had discovered that
they were the victim of an Identity Theft that involved the opening of new accounts or loans
or committing theft, fraud, or other crimes using the victim’s personal information (“New
Accounts & Other Frauds’ ID Theft). (Approximately 65% of those who experienced “New
Accounts & Other Frauds” ID Theft within the last five years also experienced the misuse of
an existing credit card or other account — 22% experienced the misuse of an existing credit
card, 26% experienced the misuse of an existing non-credit card account, and 16%
experienced both the misuse of existing credit cards and the misuse of existing non-credit

card accounts.)
Within the past 5 years, 2.0% of adults reported having an existing account other than a

credit card, such as a checking or savings account or a utility account misused (“Misuse of
Existing Non-Credit Card Accounts” ID Theft). (40% of these victims also experienced the

misuse of an existing credit card).
The most commonly reported form of Identity Theft involves the misuse of an existing credit

card or credit card number. 6.0% of survey participants indicated they had been the victim
of ID Theft, but that the misuse of their information had been limited to the misuse of an

Federal Trade Commission Page 11 of 93 September 2003
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 24 of 39

Identity Theft Survey Report

 

Federal Trade Commission

existing credit card or credit card number (“Misuse of Existing Credit Card or Card Number” @
ID Theft).
e In total, 12.7% of survey respondents reported that within the last five years they had

discovered that they were victims of one of the three types of Identity Theft. This implies
that approximately 27 million American adults have been victims in this period.

e Non-whites also report slightly higher rates of victimization (16%) than whites (12%).

e Residents of the West Census region were most likely to be victims of Identity Theft within
the past 5 years (14%). The crime was found least in the Midwest region (10%) over the
same time period. Among respondents from the South, 13% reported experience with
Identity Theft; 12% of those in the Northeast region also have been victimized.

e Americans age 55 and over were slightly less likely to report victimization within the past 5
years (9%) than the population as a whole (13%).

Federal Trade Commission Page 12 of 93 September 2003
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 25 of 39

Exhibit E
FIC Testifies on Data GaSe FieS Gv,05193-EL Document 39-2 Filed 12/04/09 Page 26 of 39

TRADE COMMISSION Re

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For Release: March 10, 2005 E-mail this News Release

If you send this link to someone else, the

: FTC Testifies on Data Security and Identity Theft FTC will not collect any personal

information about you or the recipient.

©. Federal Trade Commission testified today before the U.S. Senate Committee on Banking, Housing, and Related Documents:

” Wrban Affairs about the reach of existing federal laws that require certain information providers to safeguard z

| sensitive information and to ensure that the information doesn't fall into the wrong hands. The Senate Banking | Prepared Statement of the Federal

! Committee is examining recent developments involving the security of sensitive consumer information. Trade Commission On Identity

FTC Chairman Deborah Platt Majoras said that increased scrutiny about the security of consumer data takes ee nl neecemeneaee

| place against the background of the threat of identity theft, a crime that harms both conaumers and financial Involving the Security of Sensitive

| institutions. “A 2003 FTC survey showed that over a one-year period, nearly 10 million people — or 4.6 percent of Consumer information, Presented

, the adult population ~ had discovered that they were victims of some form of identity theft.” by Chairman Deborah Platt Majoras

| Before the Committee on Banking,

| There are three laws enforced by the FTC that restrict disclosure of consumer information and require Housing, and Urban Affairs of the

‘ companies to ensure the security and integrity of the data in certain contexts, the testimony says. , United States Senate (March 10,

2005).

i “The Fair Credit Reporting Act primarily prohibits the distribution of ' consumer reports’ by ‘consumer reporting

| agencies’ (CRAs) except for specified ‘permissible purposes’ and requires CRAs to employ procedures to

| ensure that they provide consumer reports to recipients onty for such purposes,” according to the testimony. a

Data brokers who sell “consumer reports” are subject to the FCRA restrictions, Consumer Information:

|

_ The Gramm-Leach-Billey Act imposes privacy and security obligations on a broadly defined group of financial i
| institutions, including those engaged in banking, lending, and insurance activities as well as joan brokering, '
‘credit reporting, and rea! estate settement services. “To the extent that data brokers fall within the definition of i
! financial institutions, they would be subject to the Act,” Majoras said.

 

 

: In addition, the FTC Act prohibits “unfair or deceptive acts or practices in or affecting commerce. Prohibited

: practices include deceptive claims that companies make about privacy, including claims about the security they
; provide for consumer information,” the tastimony says. “The Commission has brought five cases against

' companies for deceptive security claims, alleging that the companies made... promises to take reasonable
steps to protect sensitive consumer information. Because they allegedly failed to take such steps, ther claims
“The Commission is committed to ensuring the continued safety of consumers’ personal information,” Majoras
rd.

©. Commission vote to authorize the testimony was 5-0.
Copies of the testimony are available from the FTC's Wad site at http //www fic gov and also from the FTC's
Consumer Response Center, Room 130, 600 Pennsylvania Avenue, N.W., Washington, D.C. 20580. The FTC

http: //weew.ftc.gav/opa/2005/03/idthefttest.sntm (1 of 23) [5/27/2009 10:46:29 AM]
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 27 of 39

Exhibit F
Identity Theft BSP GoheEhY veh ae DeAG SPENDEIFE ed 12/04/09 Page 28 of 39 Page 2 of

Credit

* Credit Report
* Credit Score
* tdentity Theft

* Credit Monitoring

httn://urwrw cnendantlife cam/onide/dantitv.thefinf_thedacaaced

Home » Ktentity Theft

Identity Theft is a Concern Even after Death
Filed Under identity Theft Print

people are victins of idertily shelt'each feds, ae “7 Rate This Content
restricted ta the IinghYes, even the deceased have their

identities stolen and used to open credit card accounts, among Average: 5 (2 votes)

other things. Of course, the deceased don't have to deel with the .

aftermath of a stolen identity. It’s their loved ones who have to Share This Content

go through the painful loss ail over again as they work to clear a

 

Unfortunately, loved ones might not find out about an identity
theft unt! credit card bifis start coming In the mail and bill es
collectors begin making phone cafls. Or, they might not find out

at all. That's what identity thieves are hoping. That way, they can 2 Googie
open new accounts and run up current ones without ever being “—.
detected,

How Thieves Get Personal information from the Deceased

You'd think It would be hard to get enough information from @ deceased person to steal an identity, but it's
not. The personal information needed to open # credit card account isn't that difficult to come across.
Previous addresses, birth dates, and Social Security numbers can all be found with a few dollars and a litte
effort. For example, several onine genesiogy webster wtewnyenrt Sri eiritton tort the Sada

Security Death Index. And according to the identity. Tde fuice Center; Ws nat uncommon for relatives of
the deceased to steal the identity.

Shouldn't banks know the ‘applicant’ is already decreased? There's a federal process where banks and
other financial institutions are notified of a death, but thieves might get to # particular bank before it’s been
notified. Also, the news never reaches some businesses, leaving them litte way to know that they're not
giving credit to the right person.

Preventing identity Theft of the Deceased

You can prevent identity theft of a decreased loved one by alerting the credit bureaus — Equifax, Experian,
and TransUnion. That way, their credit file will be updated with a deceased alert. When someone tries to
apply for credit with a financial institution thet pulls from the credit bureaus, the business will get notification
that there's fraud happening. You can even include a request to be notified whenever someone applies for
credit in your loved one’s name.

Another step is to notify the Social Security Administration of the death as soon as possible by calling 1-800-
772-1213 from 7 a.m, to 7 p.m. The SSA will update the Death Master File, which eventually transmits out to
the financial industry (though takes several months).

Close all open credit card accounts, letting them know about the death and providing # copy of the death
certificate. You should alec notify all other banks and institutions with which your departed loved one had #
financial relationship. This includes sif of his or her creditors, stock brokers, banks, and mortgage
companies. Make sure they mark the account holder as deceased in their records.

Consider signing up on the DMA's Deceased, Do Not Contact List This doesn't cost anything and wil
reduce, if not stop compistely, marketers from sending offers of credit and insurance to the deceased within

three months.

Avoid printing the complete date of birth in the obituary. Instead, leave out the day and month and only print
the year. This makes it harder for would-be thieves to get the necessary personal information to steal an
identity.

if your loved one does become a victim of identity theft, you can typically provide « copy of the death
certificate to clear up the matter. It's also a good idea to report the theft to the Federai Trade Commission,
your state Altorney General, and local law enforcement agencies. You are not responsible for paying for
fraudulent charges made es a result of identity theft

 

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Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 29 of 39

Exhibit G
President Bask SAB tdehGsOBheft Péralty HahamerdenFiked 12/04/09 Page 30 of 39 Page | of 2

 

 

Ne THE WHITE HOUSE bcuicx HERS TO PRINT
PRESIDENT
ee GEORGE W. BUSH
For immediate Release
Office of the Press Secretary
July 15, 2004
President Bush Signs Identity Theft Penalty Enhancement Act
Remarks by the President at Signing of Identity Theft Penalty Enhancement Act
Roosevelt Room
Multimedia
10:52 A.M. EDT
President's Remarks
THE PRESIDENT: Thanks for | Bi view
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coming. Welcome to the White
House. Thanks for coming.
(Laughter.) Welcome to the
White House. (Laughter.)

discussed the Identity Theft Penaity
Enhancement Act on Ask the White House.

 

We're taking an important step today to combat the problem of identity theft, one of the fastest growing financial
crimes in our nation. Last year alone, nearly 10 million Americans had their identities stolen by criminals who rob
them and the nation's businesses of nearly $50 billion through fraudulent transactions. The bill I'm about to sign
sends a clear message that a person who violates another's financial privacy will be punished.

The Identity Theft Penalty Enhancement Act also prescribes prison sentences for those who use identity theft to
commit other crimes, including terrorism. It reflects our government's resolve to answer serious offenses with

serious penalties.

| appreciate the members of my administration who worked on this important piece of legislation, particularly
Cabinet members John Snow and John Ashcroft. | appreciate the members of the Congress who worked hard on
this legislation: Senator Orrin Hatch and Senator Jon Kyl, Senator Dianne Feinstein, and members of the House,
Chairman, Senator Jim Sensenbrenner, and John Carter from the great state of Texas. | want to thank the other
members of Congress who are here, members of both political parties. Thank you for coming. | thank those who
are on their staffs who have worked hard.

The crime of identity theft undermines the basic trust on which our economy depends. When a person takes out
an insurance policy, or makes an online purchase, or opens a savings account, he or she must have confidence
that personai financial information will be protected and treated with care. Identity theft harms not only its direct
victims, but also many businesses and customers whose confidence is shaken. Like other forms of stealing,
identity theft leaves the victim poor and feeling terribly violated.

But the losses are not measured only in dollars. An identity theft — thief can steal the victim's financial reputation.
Running up bills on credit card accounts that the victim never knew existed, the criminal can quickly damage a
person's lifelong efforts to build and maintain a good credit rating. Repairing the damage can take months or

years.

Government has a responsibility to protect citizens from these crimes and the grief and hassle they cause. It's a
solemn responsibility of our government. | want to thank the members of Congress for recognizing that

responsibility.

This good law is part of a broader effort we've waged in recent years. The U.S. Postal Inspection Service, the FBI,
and Secret Service are working with local and state officials to crack down on the criminal networks that are
responsible for much of the identity theft that occurs in this nation. The Federal Trade Commission is training local
law enforcement in the detection of identity theft. The Commission has set up the ID Theft Data Clearinghouse,
which keeps track of complaints across the country, and provides those records to prosecutors seeking to take

http://georgewbush-whitehouse.archives. gov/news/releases/2004/07/print/20040715-3.html 6/16/2009
‘President Bush Siens ldgnsity dcheft Penalty Rrhansenent-Ast 12/04/09 Page 31 of39 Page 2 of2

down organized rings.

Last December, | signed the Fair and Accurate Credit Transactions Act, which established a national system of o
fraud detection so that identity thieves can be stopped before they run up tens of thousands of dollars in illegal @
purchases. Thanks to this law, victims can make one phone call to alert all three major credit rating agencies to

report the crime and to protect their credit ratings.

The law | sign today will dramatically strengthen the fight against identity theft and fraud. Prosecutors across the
country report that sentences for these crimes do not reflect the damage done to the victim. Too often, those
convicted have been sentenced to little or no time in prison. This changes today. This new law establishes in the
federal criminal court the offense of aggravated identity theft. And someone convicted of that crime can expect to
go to jail for stealing a person's good name. These punishments will come on top of any punishment for crimes
that proceed from identity theft. For example, when someone is convicted of mail fraud in a case involving stolen
personal information, judges will now impose two sentences, one for mail fraud, and one for aggravated identity
theft. Those convicted of aggravated identity theft must serve an additional mandatory two-year prison term.
Someone convicted of aggravated identity theft, such as using a false passport in connection with a terrorism
case, would receive an additional prison sentence of five years. In addition, judges will not be allowed to let those
convicted of aggravated identity theft serve their sentence on probation.

This law also raises the standard of conduct for people who have access to personal records through their work at
banks, government agencies, insurance companies, and other storehouses of financial data. The law directs the
United States Sentencing Commission to make sure those convicted of abusing and stealing from their customers
serve a sentence equal to their crimes.

What I'm telling you is this is a good law. And | appreciate you working hard to see to it that it made it to my desk.
Because of this act of Congress | sign today, the guilty will be certain to be punished. That's good for our
consumers, it's good for our economy, and it's good for the cause of justice.

Welcome to the White House. (Applause.)
(The bill is signed.) @
END 10:59 A.M. EDT

Return to this article at:
http:/Avww. whitehouse. gov/news/releases/2004/07/200407 15-3.html

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Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 32 of 39

Exhibit H
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IDENTITY THEFT LITERATURE REVIEW

Prepared for presentation and discussion at the National Institute of Justice Focus Group
Meeting to develop a research agenda to identify the most effective avenues of research
that will impact on prevention, harm reduction and enforcement

January 27-28, 2005

Graeme R. Newman
School of Criminal Justice, University at Albany

Megan M. McNally
School of Criminal Justice, Rutgers University, Newark

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Institute of Justice, Office of Justice Programs, U.S. Department of Justice. Points of
view in this document are those of the author and do not necessarily represent the official
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Case 2:08-cv-05193-EL Document 39 2 filed 12/04/09 Fag * ols
\ts of view expressed are those of the author(s)
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é g3 3 reported that someone stole or otherwise
4 g 3 errecord with their personal information
4% 8 i
5 z < agg friend, relative or co-worker had stolen
zeh aay |
= Taq 8 $3 | reported being victimized more frequently
28. ° 5 ~ a high school degree or less (Harris
aos a
“ 76 et
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‘ims under the age of 18 - the Consumer
publicly available in disaggregated form, so
» Vast age group is unknown.” Of the victims
ere were 9,370 victims in 2004 who were under
-+ in 2003 (3% of 197,475); and 2,618 in 2002 (2% of
; . ource Center also reports dealing with 2 or 3 new child
cases per week, which represents a minimum of 104-156 child victims per year (Davis
2004).

Child identity theft may only represent a small percentage of cases (albeit based on
reported incidents), but there is some anecdotal evidence to suggest that the crime may go
undetected until the victim reaches an age when (s)he begins to drive, attends college,
applies for various types of loans or credit accounts, or otherwise reaches adulthood.
Family members may be particularly suited to commit this type of identity theft since the
parents or guardians are in control of, or have exclusive access to, the child’s “identity,”
or pertinent identifying information. Further, some parents or guardians who detect
compromises of their child’s identity may only do so after repeatedly suspicious
solicitations, such as receiving credit card applications in their child’s name. Thus, in the
absence of concrete or recurring evidence, many adults may not suspect that anything is
wrong.

The deceased as victims of identity theft

The number of deceased victims in the U.S. has not been estimated, although the
deceased have long been recognized as “favorite targets of identity thieves” (O’Brien
2004).*' One U.K. fraud prevention service, CIFAS (n.d.), has dubbed identity theft of
the deceased “Britain’s largest growing identity theft related crime,” which has grown
from 5,000 cases in 2001, to16,000 in 2003, and an expected 20,000 in 2004. In one
recent U.S. example, a group of thieves stole social security numbers and other credit
information from 80 deceased individuals across five states. This information was sold,

 

* In at least one recent example, the identity of a 3-month-old infant was stolen (O’Brien 2004), suggesting
that victimization information is needed regarding children of all ages.

*' See the Joint Hearing before the Subcommittee on Oversight and Investigations (2002) for a discussion of
this problem.

IDENTITY THEFT LITERATURE REVIEW 23
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 35 of 39
This document is a research report submitted to the U.S. Department of Justice. This report has not
been published by the Department. Opinions or points of view expressed ara those of the author(s)

and do not necessarily reflect the official position or policies of the U.S. Department of Justice.

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for $600 per name, to persons seeking car loans. The total losses from this Georgia-based
scam were 1.5 million dollars (Teague 2004).

Not only can important personal information, such as their mother’s maiden name,
simply by mined from obituaries; relatives and acquaintances may once again be in a
favorable position to commit this particular form of identity theft. Both children and the
deceased require advocates to discover the crime and report it to authorities. However,
the universe of deceased victims far surpasses that of children in the U.S. today, and is
ostensibly unlimited. As such, these groups require considerable attention among future
research and data collection efforts.

Institutional victims
[

Certain groups of victims may be more vulnerable than others because of the
organizations to which they belong. Students and members of the armed services may be
particularly at risk. Considering the extensive use of Social Security Numbers among
institutions of higher learning and students’ increased opportunities for obtaining credit”,
a number of steps have been taken to specifically protect and educate colleges students
about the dangers associated with identity theft (“Legislators try to shore up...,” 2004;
“ED debuts web site...,” 2004; “Education department takes steps. ..,” 2004).

““[M]embers of the armed services may [also] be more susceptible than the general
public to identity theft. Given their mobility, service members may have bank,
credit, and other types of accounts in more than one state and even overseas. At
times, service members may be deployed to locations far away from family
members, which can increase their dependence on credit cards, automatic teller
machines, and other remote-access financial services” (GAO 2002a:62).*

The FTC and the Department of Defense specifically established the Soldier Sentinel
System (or Military Sentinel) in 2002 in response to such identity theft-related threats
within the military community.

 

” The Joint hearing before the Subcommittee on Oversight and Investigations (2002) notes a range of
examples regarding identity theft of the deceased. For instance, the parents of a 16 month old boy, who had
died from Hurler’s Syndrome, were informed by the IRS that they could not claim him on their income
taxes because he was claimed by another party — their entire claim was rejected. Lofti Raisi, who was
suspected of training 4 of the 19 September 11" hijackers how to fly, used the social security number of a
New Jersey woman who had died in 1991.

9 tn late February 2003, hackers broke into a University of Texas computer network and stole the Social
Security numbers of 55,000 students, faculty and alumni (Borrus 2003).

“ Research note. The potential involvement of family members or close acquaintances in the management
of a soldier's financial or otherwise mundane affairs (such as paying rent or other bills), and their potential
role as offenders, suggests that additional research should examine the extent to which such positions are
abused; for example, through the power of attomey.

NEWMAN AND McNALLY 24
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 36 of 39

Exhibit I
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 37 of 39

http://www.cifas.org.uk/default.asp?edit_id=578-57

Deceased Fraud

DECEASED FRAUDS - RESEARCH RESULTS

Introduction

In December 2004, CIFAS published research into Impersonation of the Deceased fraud. Making
use of data from the period froom 2001 to October 2004, these figures gave a full and frank
assessment of the scale of this type of fraud and provided a greater, more prominent, platform for
CIFAS to campaign for the release of death registration Information for fraud prevention purposes.

The following represents the findings and results of this research.

Background

Between 2001 and 2004, CIFAS Members reported substantial increases in deceased impersonation
frauds.

Figures were hard to come by due to the reporting mechanisms being largely manual at the time, but in
2001 a sample of deceased data was matched against the CIFAS file. This was then validated bya
survey of some large CIFAS Members. The two exercises taken together revealed there were 5,000
cases, about half of which were not recorded as frauds but as collections cases or written off unpaid
debts. In 2002 the figure doubled to 10,000 and in 2003 it rose to 16,000. For 2004 the projection was
20,000 cases. Added together, the reported and projected figures for the period 2001 to 2004 were:

 

10,000
16,000

20,000 anticipated
at the time of publication

 

 

In 2004 Members of CIFAS reported a surge in the number of cases with some organisations identifying
as many as 30 per week.

Research Exercise

This research exercise had several aims:

To validate the previous estimates of the numbers of deceased frauds

To quantify the scale of the problem
To confirm the number of deceased frauds being reported as other fraud types, due to the lack of

access to data to confirm deaths
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 38 of 39

databases available for screening data and for suppressing direct mail. Calicredit carried out the data

Nearly 5 years of CIFAS data was matched by address against deceased records from two private sector “+
matching for CIFAS. ®

For older deceased data there was virtually 100% coverage of deaths but for deaths between 2002 and
2004, the percentage varied from 0% shortly after a death to 75% later on.

Approximately 900,000 CIFAS fraud records were used in the research dating from January 1999 to
October 2004.

The Results

The research results provided the clearest indication, to date, yet that deceased fraud occurred on a
scale greater than previously indicated. The results showed that:

*« 97,000 matches were made up as follows:

 

  
 
 

  
 
 

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e The majority related to the period 2001 to 2004 where existing reporting mechanisms produced a
figure of §1,000. We then estimated the scale of the UK problem not at 51,000 cases since 2001
but 180,000. This figure was based on the 97,000 matches from the research and a 50% uplift to
include cases that were not recorded as frauds but as collections cases or written off unpaid
debts. This figures was always likely to be an under-estimate as the deceased fraud data-set
used in this research exercise was incomplete. Had the data-set been complete, at least 13,000
further matches would have been made, based on the data. In addition, many deceased frauds
are not identified at all.

e The difference between the figures previously published by CIFAS and the research figures
published in 2004 was caused by over 40,000 frauds being classified as application frauds rather
than identity frauds. In most cases, this was due to falsehoods being identified on applications.
Had the CIFAS Members been aware of the deaths from having access to deceased data, the
lines of investigation would have changed.

e The research results demonstrated that if deceased data at this time was released to the private
sector, then data matching routines to match the data using addresses worked well and will
deliver powerful benefits.

e ‘Day of the Jackal’ frauds represented up to 17,500 of the total, where the dead individual was
aged 18 or under. Children under 10 represented 2,700 of these cases. These frauds
represented a minority of the cases but the distress they caused should not be under-estimated.

Conclusions

CIFAS was able to conclude from this research that
Case 2:08-cv-05193-EL Document 39-2 Filed 12/04/09 Page 39 of 39

¢ Previous estimates (prior to 2004) of the numbers of deceased frauds were too low by a factor of
3.5. The reported figure for 2001 to 2004 of 51,000 should probably be uplifted to 180,000. On
the same basis, the 20,000 cases estimated for 2004 was probably closer to 70,000 cases.

e CIFAS Members were correct in describing deceased fraud as the most serious identity fraud

problem they face.
« Nearly half of deceased identity frauds were not being identified as deceased frauds, but instead

as fraudulent applications. This was due to lack of access to data to confirm deaths.
e CIFAS recommended that deceased data be released by the Government to the private sector for
fraud prevention purposes, thus going a long way to preventing these frauds.

Deceased Fraud - The Issues from a CIFAS Perspective

Why Deceased Fraud matters

In 2003 figures published by CIFAS showed at least 16,000 families experienced the pain of discovering
their loved one had been impersonated after their death, to open accounts such as credit cards and loans.

CIFAS research in 2004 suggested that published figures were understated by 3.5 times and the UK
could expect to see 140,000 cases of deceased fraud a year within 3 years if no action was taken. This
represents a huge cost to society. Deceased fraud already cost £250 million a year, so over 4 years,
that would mean £1 billion being removed from the legitimate economy with the cost being passed on to
consumers within the price of goods and services.

Since late 2000, CIFAS had lobbied the Government to share details of the deceased for fraud prevention
purposes. The Department for Work and Pensions, the Treasury, the Home Office and the Department for
Constitutional Affairs have all been involved. No-one had ever disagreed that the problem needs tackling

urgently and that the solution was to share deceased data.

The outcome

The pain of discovering that a loved one has been impersonated after his or her death, by a fraudster who
uses the identity of the deceased person to open accounts such as credit cards and loans, compounds

the grief of bereavement.

A change to the law through a clause in the Police and Justice Act 2006 now means that death
registration data will be released to the private sector on a weekly basis, by the General Register Office in
England and Wales together with its counterparts in Scotland and Northern Ireland, for fraud prevention

purposes.

CIFAS was absolutely delighted that the release of the death records has been made possible, and is
confident that this new regime will help to stamp out this most insidious of frauds.

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